                     UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                         STATESVILLE DIVISION

   UNITED STATES OF AMERICA     )        DOCKET NO. 5:14-CR-81
                                )
         vs.                    )        VOLUME II
                                )
   ROGER DALE FRANKLIN,         )
                                )
              Defendant.        )
   _____________________________)

                   TRANSCRIPT OF TRIAL PROCEEDINGS
               BEFORE THE HONORABLE RICHARD L. VOORHEES
                  UNITED STATES DISTRICT COURT JUDGE
                             JULY 8, 2015




   APPEARANCES:
   On Behalf of the Government:
        STEVEN KAUFMAN, ESQ.
        United States Attorney's Office
        227 West Trade Street, Suite 1700
        Charlotte, North Carolina
   On Behalf of the Defendant:
        HAAKON THORSEN, ESQ.
        Law Offices of Haakon Thorsen
        1235-E East Boulevard, #239
        Charlotte, North Carolina




                       Cheryl A. Nuccio, RMR-CRR
                        Official Court Reporter
                      United States District Court
                       Charlotte, North Carolina




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1    WEDNESDAY MORNING, JULY 8, 2015
2               (Court called to order at 11:57 a.m.)
3               THE COURT:   Are the parties ready to receive the
4    verdict?
5               MR. KAUFMAN:   Yes, Your Honor.
6               MR. THORSEN:   Yes, Your Honor.
7               THE COURT:   The jury has told you they have a
8    verdict, right?
9               THE CLERK:   Yes.
10              THE COURT:   Told the clerk.     Okay.   Thank you.
11   We'll wait for the alternates to arrive and then we'll bring
12   the jury out.
13              (Alternates entered the courtroom.)
14              THE COURT:   Okay.   May we have the jury, please.
15              (Jury entered the courtroom at 11:58 a.m.)
16              THE COURT:   Good morning, members of the jury.
17              THE JURY:    Good morning.
18              THE COURT:   And who will speak for the jury, please?
19              (Juror No. 7 raised her hand.)
20              THE COURT:   Ma'am, did the jury reach a verdict?
21              JUROR NO. 7:   Yes, sir, we did.
22              THE COURT:   Was it unanimous as to all the decisions
23   made on the -- and entered on the verdict sheet?
24              JUROR NO. 7:   Yes, sir.
25              THE COURT:   So did you fill out the verdict sheet




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1    and sign it and date it?
2               JUROR NO. 7:   Yes, sir, we did.
3               THE COURT:   Okay.   Great.
4               Madam Clerk, if you'll receive the verdict sheet,
5    please.
6               (The verdict sheets were tendered to the Court.)
7               THE COURT:   All right.    Members of the jury, I'm
8    going to ask the clerk to publish the verdict at this time.
9    And I'll ask you to listen up as she does that because you'll
10   be asked in just a moment if that is and remains your verdict.
11   Thank you.
12              THE CLERK:   Members of the jury, you have found as
13   follows:
14              As to defendant, Roger Dale Franklin, we, the jury,
15   return the following verdict as to the charges contained in
16   the first superseding bill of indictment against the
17   defendant, Roger Dale Franklin:
18              Issue 1, count one.     As to count one, we, the jury,
19   find the defendant, Roger Dale Franklin, guilty of conspiracy
20   to distribute and possess with intent to distribute a quantity
21   of methamphetamine as alleged in count one of the first
22   superseding indictment.
23              1A, concerning the issue of quantity only, do you,
24   the jury, find that the government has proven beyond a
25   reasonable doubt that the quantity of a mixture and substance




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1    containing a detectable amount of methamphetamine, its salts,
2    isomers or salts of its isomers which is attributable to
3    defendant is 500 grams or more?      Yes.
4              1B, concerning the issue of quantity only, do you,
5    the jury, find that the government has proven beyond a
6    reasonable doubt that the quantity of a mixture and substance
7    containing a detectable amount of methamphetamine, its salts,
8    isomers or salts of its isomers which is attributable to
9    defendant is less than 500 grams but at least 50 grams?            Yes.
10             Issue 2, count two.      As to count two, we, the jury,
11   find the defendant, Roger Dale Franklin, guilty of possessing
12   with intent to distribute a quantity of methamphetamine as
13   alleged in count two of the first superseding bill of
14   indictment.
15             Issue 3, count three.      As to count three, we, the
16   jury, find the defendant, Roger Dale Franklin, guilty of
17   knowingly and unlawfully possessing one or more firearms or
18   aiding and abetting the same in the furtherance of a drug
19   trafficking crime, that is, possession with intent to
20   distribute methamphetamine as charged in count two above.
21             Issue 4, count four.      As to count four, we, the
22   jury, find the defendant, Roger Dale Franklin, guilty of
23   having previously been convicted of one or more crimes
24   punishable by imprisonment for a term exceeding one year and
25   knowingly possessing in and affecting commerce one or more




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1    firearms, that is, a Taurus TCP .380 handgun and ammunition.
2              Issue 5, count five.      As to count five, we, the
3    jury, find the defendant, Roger Dale Franklin, guilty of
4    knowingly and intentionally possessing with intent to
5    distribute a controlled substance, that is, a mixture and
6    substance containing a detectable amount of methamphetamine, a
7    Schedule II controlled substance, or aiding and abetting the
8    same.
9              Issue 6, count six.      As to count six, we, the jury,
10   find the defendant, Roger Dale Franklin, guilty of knowingly
11   and unlawfully possessing one or more firearms, or aiding and
12   abetting the same, in furtherance of a drug trafficking crime,
13   that is, possession with intent to distribute methamphetamine
14   as charged in counts one or five above.
15             Issue 7, count seven.      As to count seven, we, the
16   jury, find the defendant, Roger Dale Franklin, guilty of
17   having previously been convicted of one or more crimes
18   punishable by imprisonment for a term exceeding one year and
19   knowingly possessing in and affecting commerce one or more
20   firearms, that is, an Interarms .38 Special revolver and
21   ammunition as alleged in count seven of the first superseding
22   bill of indictment -- first superseding indictment.
23             Issue 8, count eight.      As to count eight, we, the
24   jury, find the defendant, Roger Dale Franklin, guilty of
25   possessing with intent to distribute a quantity of




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1    methamphetamine as alleged in count eight of the first
2    superseding bill of indictment.
3                Issue 9, count nine.    As to count nine, we, the
4    jury, find the defendant, Roger Dale Franklin, guilty of
5    possessing with intent to distribute a quantity of
6    methamphetamine as alleged in count nine of the first
7    superseding bill of indictment.
8                THE COURT:   Madam Clerk, if you'll hand me the
9    verdict sheet, please.
10               (The verdict sheets were tendered to the Court.)
11               THE COURT:   Members of the jury, if you'll excuse me
12   just a minute.   I'm going to have a sidebar conference with
13   the attorneys.   You may be at ease.
14               (Sidebar conference as follows:)
15               MR. KAUFMAN:   We both caught it, Your Honor.
16               THE COURT:   What's that?
17               MR. KAUFMAN:   I think we know what the basis for the
18   sidebar is, Your Honor.
19               THE COURT:   Would it be count two?
20               MR. THORSEN:   Count one.
21               MR. KAUFMAN:   Count one where it's over 500 and less
22   than 500.
23               THE COURT:   Count one.   Yeah, that would -- that
24   appears to be flat out inconsistent.
25               MR. THORSEN:   Yes.




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1                THE COURT:   So I think we need to bring that to the
2    jury's attention and let them address that.
3                MR. KAUFMAN:   Yes, Your Honor.
4                MR. THORSEN:   I think that's correct.
5                THE COURT:   Okay.
6                MR. THORSEN:   It is inconsistent.
7                MR. KAUFMAN:   And not following the directions on
8    the form.
9                THE COURT:   It says what to do if they answer no and
10   then what they do when they answer yes.       So I'll just let them
11   read it carefully and adjust it according to their decision;
12   that they need to be unanimous in that.
13               MR. THORSEN:    Yes.
14               THE COURT:   Okay.
15               (End of sidebar conference.)
16               THE COURT:   Members of the jury, the question the
17   Court has that I would like for you to address as a jury has
18   to do with count one.      You found defendant guilty of the
19   conspiracy charge and then you indicated that the quantity was
20   500 or more grams of a detectable amount of meth, but then you
21   went on to issue 1B and indicated that the amount was less
22   than 500 grams but at least 50 grams.
23               So that's inconsistent and I'm going to send it
24   back -- send you back with the verdict sheet and ask you to
25   address that and you should address that count and any others




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1    that you think need further attention.       But I would like you
2    to address that and see if you can't make it consistent and
3    reflect your true findings in the matter.        I think it's just
4    an oversight on your part, but it's something that has to be
5    addressed and only you all as a group of 12 can do that.
6    Thank you.   And you can mark the verdict sheet according to
7    how you find.
8              (The jury exited the courtroom at 12:08 p.m.)
9              MR. KAUFMAN:    Your Honor...
10             THE COURT:    Yes.
11             MR. KAUFMAN:    While the jury is redeliberating, I'd
12   call to the Court's attention that with regard to the two
13   firearms which were included in a forfeiture provision for the
14   bill of indictment, the parties prepared in the event of a
15   conviction a proposed consent order and judgment of forfeiture
16   that the parties and Mr. Franklin have signed.
17             THE COURT:    All right, sir.     If you'll hand that up.
18             MR. KAUFMAN:    Thank you.
19             (The documents were tendered to the Court.)
20             MR. KAUFMAN:    And those are the only two items that
21   haven't already been resolved with regard to the forfeitures.
22             THE COURT:    Okay.   I'll take that up when we receive
23   the revised verdict sheet.
24             MR. KAUFMAN:    Yes, Your Honor.
25             THE COURT:    I appreciate your staying with us until




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1    now.   It appears that you're not likely to be needed at this
2    point so I would let you go, but you're free to stay until all
3    the jury members are dismissed if you would like to do that.
4    I doubt it would take very long for them to address that
5    apparent inconsistency.
6               (Pause.)
7               THE CLERK:   They say they've resolved the matter.
8               THE COURT:   Okay.
9               CSO:   Bring them in?
10              THE COURT:   Yes, sir.
11              (Jury returned to the courtroom at 12:11 p.m.)
12              THE COURT:   Okay.   Ma'am, now that the jury has
13   returned once again, did you mark the verdict sheet?
14              JUROR NO. 7:   Yes, sir, it's correct.
15              THE COURT:   And is that now correct in your opinion?
16              JUROR NO. 7:   Yes, sir.
17              THE COURT:   All right.    Thank you, ma'am.
18              (The verdict sheets were tendered to the clerk.)
19              THE CLERK:   Do you want me to read count one over?
20              THE COURT:   It appears there was no change except
21   for 1B; is that correct, ma'am?
22              THE CLERK:   Yes, sir.
23              THE COURT:   All right.    So if you would read that,
24   Madam Clerk.
25              THE CLERK:   Okay.   1B, concerning the issue of




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1    quantity only, do you, the jury, find that the government has
2    proven beyond a reasonable doubt that the quantity of a
3    mixture and substance containing a detectable amount of
4    methamphetamine, its salts, isomers or salts of its isomers
5    which is attributable to defendant is less than 500 grams but
6    at least 50 grams?    No.
7               THE COURT:    And then A remains, if you'll read that
8    too.
9               THE CLERK:    1A, concerning the issue of quantity
10   only, do you, the jury, find that the government has proven
11   beyond a reasonable doubt that the quantity of a mixture and
12   substance containing a detectable amount of methamphetamine,
13   its salts, isomers or salts of its isomers which is
14   attributable to defendant is 500 grams or more?         Yes.
15              THE COURT:    And the verdict on count one remains?
16              THE CLERK:    Guilty.
17              THE COURT:    Guilty.   And there's no other change,
18   Madam Clerk?
19              THE CLERK:    No, sir, just as to 1B.
20              THE COURT:    All right.    If you would please poll the
21   jury.
22              THE CLERK:    Yes, sir.
23              Juror number 1, was this your verdict; is this still
24   your verdict?
25              JUROR NO. 1:     Yes.




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1               THE CLERK:    Juror number 2, was this your verdict;
2    is this still your verdict?
3               JUROR NO. 2:    Yes.
4               THE CLERK:    Juror number 3, was this your verdict;
5    is this still your verdict?
6               JUROR NO. 3:    Yes.
7               THE CLERK:    Juror number 4, was this your verdict;
8    is this still your verdict?
9               JUROR NO. 4:    Yes.
10              THE CLERK:    Juror number 5, was this your verdict;
11   is this still your verdict?
12              JUROR NO. 5:    Yes.
13              THE CLERK:    Juror number 6, was this your verdict;
14   is this still your verdict?
15              JUROR NO. 6:    Yes.
16              THE CLERK:    Juror number 7, was this your verdict;
17   is this still your verdict?
18              JUROR NO. 7:    Yes.
19              THE CLERK:    Juror number 8, was this your verdict;
20   is this still your verdict?
21              JUROR NO. 8:    Yes.
22              THE CLERK:    Juror number 9, was this your verdict;
23   is this still your verdict?
24              JUROR NO. 9:    Yes.
25              THE CLERK:    Juror number 10, was this your verdict;




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1    is this still your verdict?
2               JUROR NO. 10:    Yes.
3               THE CLERK:    Juror number 11, was this your verdict;
4    is this still your verdict?
5               JUROR NO. 11:    Yes.
6               THE CLERK:    Juror number 12, was this your verdict;
7    is this still your verdict?
8               JUROR NO. 12:    Yes.
9               THE COURT:    Thank you, Madam Clerk.
10              Will there be anything further before we dismiss the
11   jury?
12              MR. KAUFMAN:    No, Your Honor.
13              MR. THORSEN:    No, Your Honor.
14              THE COURT:    All right.    Members of the jury, I want
15   to thank you very much for your participation in the case and
16   also the alternates who have been with us.        If you have any
17   questions about your jury service, feel free to stop by the
18   clerk's office on the third floor on your way out or call the
19   telephone number that you've been given.        Again, with our
20   appreciation you're free to leave at this time.
21              (Jury exited the courtroom at 12:14 p.m.)
22              THE COURT:    Okay.   The jurors have now departed.
23   Mr. Franklin, the jury having found as it did, the remaining
24   business of the Court in this matter would be to have a
25   sentencing hearing and that would take place several months




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1    from now.    Between now and then the presentence officer will
2    contact you and set up an interview to -- in connection with
3    preparing the presentence report.       And you're entitled to have
4    your attorney with you when that interview takes place if you
5    see fit.
6                Then at least 35 days before the sentencing hearing,
7    you and your attorney will receive a copy of the proposed
8    presentence report by the probation officer and that will give
9    you all an opportunity to go over and make sure its accurate.
10   And if it is not, you may object to it.        And then oftentimes
11   it is amended accordingly or revised.       But in any event, you'd
12   also be able to speak to the Court at the time of sentencing
13   yourself and your attorney would have that opportunity as
14   well.   And you may offer evidence at that time if that is
15   appropriate.
16               Anything further?
17               MR. KAUFMAN:   No, Your Honor.
18               THE COURT:   No, Your Honor.
19               THE DEFENDANT:   Yes, Your Honor, I want to appeal
20   this.   I want to enter notice of appeal.
21               THE COURT:   All right, sir.    That is normally done
22   after the sentencing hearing.      Right now it could be entered,
23   but if we did it would simply be rejected until the sentencing
24   occurs.
25               THE DEFENDANT:   I thought I had ten days to do it.




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1               THE COURT:    Yes, sir, I understand.
2               MR. THORSEN:    We'll take care of that.
3               THE COURT:    We certainly will protect your right to
4    appeal the Court's judgment and any sentence that is handed
5    down.   Thank you.
6               (End of proceedings at 12:16 p.m.)
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1    UNITED STATES DISTRICT COURT
2    WESTERN DISTRICT OF NORTH CAROLINA
3    CERTIFICATE OF REPORTER
4
5
6               I, Cheryl A. Nuccio, Federal Official Realtime Court
7    Reporter, in and for the United States District Court for the
8    Western District of North Carolina, do hereby certify that
9    pursuant to Section 753, Title 28, United States Code, that
10   the foregoing is a true and correct transcript of the
11   stenographically reported proceedings held in the
12   above-entitled matter and that the transcript page format is
13   in conformance with the regulations of the Judicial Conference
14   of the United States.
15
16              Dated this 31st day of May 2016.
17
18
19                               s/Cheryl A. Nuccio
                                 _________________________
20                               Cheryl A. Nuccio, RMR-CRR
                                 Official Court Reporter
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23
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